   Case: 1:23-cv-17067 Document #: 145 Filed: 05/15/25 Page 1 of 2 PageID #:1344




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


WALGREEN CO.,

                              Plaintiff,                   Civil Action No. 1:23-cv-17067

       v.

WALGREEN HEALTH SOLUTIONS, LLC and                         Hon. Virginia M. Kendall
CHARLES R. WALGREEN,
                                                           Hon. M. David Weisman
                              Defendants.

            JOINT MOTION FOR ENTRY OF STIPULATED FINAL JUDGMENT

       Plaintiff Walgreen Co. (“Walgreens”) and Defendants Walgreen Health Solutions, LLC

and Charles R. Walgreen (collectively, “Defendants”) move this Court for entry of a stipulated

final judgment. The Parties have met and conferred, and have agreed to the terms of a proposed

stipulated final judgment as a resolution to this case. The proposed stipulated final judgment has

been submitted in Word format to Proposed_Order_Kendall@ilnd.uscourts.gov in accordance

with the Court’s standing order. The Parties have also separately entered into a confidential

settlement agreement.
   Case: 1:23-cv-17067 Document #: 145 Filed: 05/15/25 Page 2 of 2 PageID #:1345




Dated: May 15, 2025

Respectfully submitted,

/s/ Kristen R. Seeger                            /s/ Shane M. Bradwell

Kristen R. Seeger                                Kevin M. O’Hagan
Steven J. Horowitz                               Shane M. Bradwell
Maseeh Moradi                                    Clarissa K. Pintado
D. Samuel Gorsche                                O’Hagan Meyer LLC
SIDLEY AUSTIN LLP                                1 E. Wacker Drive Ste. 3400
One South Dearborn Street                        Chicago, Illinois 60601
Chicago, Illinois 60603                          (312) 422-6100
(312) 853-7000                                   kohagan@ohaganmeyer.com
kseeger@sidley.com                               sbradwell@ohaganmeyer.com
shorowitz@sidley.com                             cpintado@ohaganmeyer.com
mmoradi@sidley.com
sgorsche@sidley.com                              Dana J. Finberg
                                                 O’Hagan Meyer LLC
Counsel for Plaintiff Walgreen Co.               One Embarcadero Center Ste. 2100
                                                 San Francisco, CA 94111
                                                 (415) 578-6902
                                                 dfinberg@ohaganmeyer.com

                                                 Counsel for Defendants Walgreen
                                                 Health Solutions, LLC and Charles
                                                 R. Walgreen




                                        2
